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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA,
                         SOUTHERN DIVISION

DEBORAH F. GLASGOW,                    )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )       CASE
                                       )       NUMBER: __________
SUN LIFE ASSURANCE                     )
COMPANY OF CANADA,                     )
                                       )
      Defendant.                       )

                                     COMPLAINT

      Comes now the Plaintiff, Deborah F. Glasgow, and hereby files her

Complaint against Sun Life Assurance Company of Canada.

                                      PARTIES

      1.     The Plaintiff, Deborah F. Glasgow (“Mrs. Glasgow”), is an insured

under Community Health Systems, Inc., Long Term Disability Insurance Policy

No. 10471-002 (“the Plan”).

      2.     Defendant, Sun Life Assurance Company of Canada (“Sun Life”), is

the Administrator of the Plan. Upon information and belief, Sun Life is a foreign

corporation which conducts business generally in the State of Alabama and

specifically within this District.




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                        JURISDICTION AND VENUE

      3.    This action arises under the Employee Retirement Income Security

Act of 1974 (“ERISA”), 29 U.S.C. §1001, et seq. Plaintiff asserts claims for long

term disability (“LTD”) benefits, enforcement of ERISA rights and statutory

violations of ERISA under 29 U.S.C. §1132.         This Court has subject matter

jurisdiction under ERISA without respect to the amount in controversy or the

citizenship of the parties. 29 U.S.C. §1132(a), (e)(1) and (f) and 28 U.S.C. §1131.

Venue is proper in this district pursuant to 29 U.S.C. §1132(e)(2) and 28 U.S.C.

§1391(b).

                               INTRODUCTION

      4.    The Plaintiff in this case was subjected to improper claim handling

procedures by Sun Life as it exploited the shortcomings of ERISA as it relates to

claims for “welfare” benefits to avoid paying Mrs. Glasgow’s valid claim for

disability benefits. The traditionally held purpose of the ERISA statute is “to

promote the interest of employees and their beneficiaries in employee benefit

plans.” Shaw v. Delta Airlines, Inc., 463 U.S. 85, 90 (1983). Mrs. Glasgow, as an

employee insured for disability, was supposed to be treated as a beneficiary by the

Defendant as statutory fiduciaries. Instead, the Defendant has breached those

duties and victimized Mrs. Glasgow by engaging in improper claim handling

procedures. As described in more detail below, the Defendant has clearly engaged



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in bad faith claim handling and Mrs. Glasgow, at minimum, is entitled to de novo

review and all relief that ERISA provides.

                              STATEMENT OF FACTS

      5.    Mrs. Glasgow is an insured for benefits under the Plan. Sun Life is the

administrator of the Plan. The Plan provides insureds, like Mrs. Glasgow, LTD

benefits.

      6.    Mrs. Glasgow, a woman fifty-five (55) years of age, worked at

Community Health Systems, Inc. as a Registered Nurse until her disabilities forced

her to stop working on or about December 11, 2017. Mrs. Glasgow’s position

required her to conduct a variety of duties, including assessing, planning,

implementing, and evaluating care for assigned patients during a shift.

Additionally, Mrs. Glasgow was responsible for managing all assigned personnel,

supplies and equipment. The physical abilities required of her occupation include

continuously walking and standing with frequent bending, lifting, carrying, and

pushing.

      7.    Mrs. Glasgow’s medical disabilities include multiple sclerosis

(“MS”), depression, and anxiety. The symptoms of her impairments and the side

effects of the medications prescribed render Mrs. Glasgow unable to perform her

occupation or any reasonable work.

      8.    Mrs. Glasgow applied for LTD benefits on March 5, 2018, listing her



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disabling impairments as her inability to walk due to left leg weakness,

numbness/tingling from her elbows to her hands and knees to feet, and severe

anxiety, depression, oppression, and anger related to stress.

      9.     Mrs. Glasgow has been under the consistent treatment of Dr. Kyle

Hudgens (“Dr. Hudgens”) for her relapsing remitting multiple sclerosis.

      10.    In attending physician statement dated March 3, 2018, Dr. Hudgens

noted that Mrs. Glasgow “has RRMS [relapsing remitting multiple sclerosis]. She

cannot participate in gainful employment due to her symptoms.” Dr. Hudgens

further noted that Mrs. Glasgow suffers from severe fatigue and intermittent

weakness.

      11.    On the same day, March 3, 2018, Mrs. Glasgow underwent a mental

status examination conducted by her treating psychiatrist, Stephanie Richardson

(“Ms. Richardson”). In attending physician statement, Ms. Richardson noted

impairments affecting Mrs. Glasgow’s ability to function in the following areas:

interpersonal relations, occupational/social, sustain work performance, attention

span, and concentration.

      12.    In attending physician statement, Mrs. Glasgow’s psychiatrist,

Stephanie Richardson (“Ms. Richardson”) noted that Mrs. Glasgow suffers from

depression and anxiety as a result of her MS diagnosis and life circumstances. Ms.

Richardson indicated that Mrs. Glasgow’s functional capacity is limited by her



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psychiatric condition through the pain she experiences related to MS and her

coping skills negatively impact her interpersonal performance.

          13.   On March 11, 2018, a benefits consultant from Sun Life contacted

Mrs. Glasgow via telephone. During this conversation, Mrs. Glasgow noted that if

she goes to Walmart she has to use a wheelchair cart. She further stated that she

cannot do all of her laundry at once and if she does housework, she has to stop and

take a nap. Most notably, Mrs. Glasgow mentioned that stress can induce her MS

flares.

          14.   Mrs. Glasgow’s physical and mental impairments and the symptoms

thereof would cause frequent absenteeism intolerable to the average employer.

          15.   In April 3, 2018 Function Report completed for the Social Security

Administration (“SSA”), Mrs. Glasgow noted that she can only lift less than ten

(10) pounds, cannot squat without having to sit completely on the floor, cannot

stand more than 5-10 minutes in one (1) spot. Mrs. Glasgow reported that she can

walk without rest for about ten (10) minutes. Mrs. Glasgow stated that she has a

housekeeper due to her inability to maintain household duties and chores.

Additionally, Mrs. Glasgow noted that her memory is bad and she has to be

reminded to take her medication by her husband daily.

          16.   In April 4, 2018 Third Party Function Report completed for the SSA,

Mrs. Glasgow’s husband Mike Glasgow (“Mr. Glasgow”) noted that Mrs. Glasgow



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does not go anywhere unless he is with her. He describes Mrs. Glasgow’s

condition as being characterized by weak legs and arms, slowness in

understanding, and mood swings. Mr. Glasgow stated that Mrs. Glasgow can only

walk up to ten (10) minutes or so before requiring rest.

      17.    On April 21, 2018, Sun Life had Mrs. Glasgow’s medical records

reviewed by Darcy Newton (“Ms. Newton”) and Bonnie Schafer (“Ms. Schafer”).

      18.    Ms. Newton is a registered nurse.

      19.    After a review of Mrs. Glasgow’s medical records, Ms. Newton

determined that the medical records do not support that Mrs. Glasgow has suffered

a physical loss of function. There is no indication that Ms. Newton attempted to

contact Mrs. Glasgow’s treating physicians.

      20.    After a brief review of Mrs. Glasgow’s medical records, Ms. Schafer

created a succinct report in which she indicated that Mrs. Glasgow has been

diagnosed with major depressive disorder and generalized anxiety disorder, which

appears supported by her longstanding symptoms but because of improvement in

her symptoms on March 13, 2018, there was no longer support for psychiatric

impairment. Ms. Schafer acknowledges Mrs. Glasgow’s psychiatric impairments

for roughly a one (1) month period of time from February 14, 2018 through March

12, 2018. There is no indication that Ms. Schafer attempted to contact Mrs.

Glasgow’s treating physicians.



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      21.    By letter dated May 14, 2018 to Sunlife, Dr. Hudgens stated that Mrs.

Glasgow was “being treated for MS with associated fatigue, severe pareasthesias

and pain. This diagnosis may make it difficult for Mrs. Glasgow to stay gainfully

employed.” (See Dr. Hudgens’ Letter dated May 14, 2018, attached hereto as

Exhibit “A“).

      22.    On May 15, 2018, as part of the investigatory process for the SSA,

Mrs. Glasgow underwent a psychological examination performed by Sharon Waltz

(“Dr. Waltz”). As a result of this evaluation, Dr. Waltz found that Mrs. Glasgow is

mentally impaired and has constriction of interest and difficulty relating to others

due to mental health symptoms.

      23.    By letter dated May 17, 2018, Mrs. Glasgow was denied LTD benefits

by Sun Life. The letter noted that the “medical records provided do not offer

support that [she] has experienced a physical loss of function.” The letter further

stated that “updated diagnostics obtained did not support an exacerbation of her

relapsing remitting multiple sclerosis.”

      24.    The Plan at issue, as governed by ERISA and relied upon to deny

Mrs. Glasgow’s long term disability benefits states, in part:

             Total Disability or Totally Disabled means during the
             Elimination Period and the next 24 months, the
             Employee, because of Injury or Sickness, is unable to
             perform the Material and Substantial Duties of his Own
             Occupation.



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      25.   On July 20, 2018, as part of the investigatory process for the SSA,

Mrs. Glasgow underwent a Neurological Examination by Nasrollah Eslami (“Dr.

Eslami”). Dr. Eslami found that Mrs. Glasgow had an unsteady gait that was slow

and broad-based. She was unable to walk on toes, heels or tandem, and had

difficulty squatting. Dr. Eslami recognized that Mrs. Glasgow suffers from

relapsing-remitting multiple sclerosis. He noted that she has not been able to

tolerate her medications and is prone to have more relapses in the future with or

without treatment. Dr. Eslami noted incoordination and difficulty walking in

addition to sphincter dysfunction, which limits Mrs. Glasgow’s work-related

activities such as ability to stand or walk for extended period of time, lift, carry

objects, and travel. (See Dr. Eslami’s Neurological Examination dated July 20,

2018, attached hereto as Exhibit “B “).

      26.   In the “history” section of Dr. Eslami’s July 20, 2018 report, he stated

“the MRI of the cervical spine did not show any cord lesion however brain MRI

showed periventricular and high density lesion in the corpus callosum that is quite

compatible with multiple sclerosis.”

      27.   By letter dated September 29, 2018, Mrs. Glasgow was approved for

Social Security Disability Income (“SSDI”) and scheduled to begin receiving

benefits January 2019.




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      28.       The Social Security Administration found Mrs. Glasgow to be

disabled under their rules on July 20, 2018 because she was found incapable of

performing work and medical improvement is not expected.

      29.       Beginning in July 2018 and through November 2018 Mrs. Glasgow

completed a daily fatigue diary.

      30.       By and through counsel in letter dated November 9, 2018, Mrs.

Glasgow appealed the denial of her LTD benefits. (See Appeal letter without

attachments dated November 9, 2018, attached hereto as Exhibit “C“). Mrs.

Glasgow included with her appeal letter additional medical records outlining the

decline of her condition.

      31.       A website is cited in the aforementioned appeal letter detailing the

fatigue associated with multiple sclerosis. As mentioned at this link and as written

in the appeal letter, the following is true of “MS fatigue:”

            •   Generally, occurs daily
            •   May occur early in the morning, even after a restful night’s sleep
            •   Tends to worsen as the day progresses
            •   Tends to be aggravated by heat and humidity
            •   Comes on easily and suddenly
            •   Is generally more severe than normal fatigue
            •   Is more likely to interfere with daily responsibilities.

      32.       Mrs. Glasgow participates in physical therapy for treatment of her

symptoms associated with MS. Mrs. Glasgow is overwhelmed with fatigue

following the therapeutic exercises performed at these appointments.


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      33.    With her appeal letter, Mrs. Glasgow submitted a declaration through

which she outlined the effects of her disabling condition on her activities of daily

living. Under penalty of perjury, Mrs. Glasgow noted “I am unable to stand in one

place for longer than 3-4 minutes without my feet beginning to burn, ache and

throb. . . My memory has decreased long-term, but especially short-term. I can’t

remember sometimes what someone just told me.” She noted that the injections she

is currently using for treatment cause her to be “completely down, or in bed all

day, at least one day a week with flu-like symptoms; body aches, fever, nausea,

diarrhea.” Additionally, Mrs. Glasgow notes the sporadic nature of her MS flares.

(See Declaration of Deborah Glasgow, attached hereto as Exhibit “ D “).

      34.    Additionally, by and through counsel in letter dated December 18,

2018, Mrs. Glasgow supplemented her appeal dated November 9, 2018, by

submitting additional documentation supporting her disability including a copy of

her Social Security file.

      35.    Mrs. Glasgow’s husband, Mike Glasgow (“Mr. Glasgow”), also

submitted a declaration with the November 9, 2018 appeal letter for Sun Life’s

review. Under penalty of perjury, Mr. Glasgow stated that Mrs. Glasgow “has a

hard time taking her shower and blow drying her hair without just being worn out

and her hands tingling. She has to stop sometimes and just lay down on the bed for

a few minutes until she can get back up to finish. I’ve noticed her memory



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changing. She can’t remember what I just told her and I have to tell her things

several times for it to get through.” (See Declaration of Mike Glasgow, attached

hereto as Exhibit “E “).

      36.    Beth Nail (“Ms. Nail”), Mrs. Glasgow’s former coworker of four (4)

years and friend, submitted a declaration for Sun Life’s consideration as well.

Under penalty of perjury, Ms. Nail stated that “before [Mrs. Glasgow] had to quit

work she had to sit down all the time and could not handle all the tasks that were

presented to her without a meltdown at times and almost a panic attack. She would

be standing against the wall with her computer if there was nowhere to sit, she just

slid down the wall and sat in the floor. Of course, this was unacceptable at work.”

(See Declaration of Beth Nail, attached hereto as Exhibit “F “).

      37.    On January 7, 2019, Sun Life hired paid reviewer Sheila Schmitt (“Dr.

Schmitt”) to review Mrs. Glasgow’s medical records. After a cursory review of the

records, Dr. Schmitt determined that the records do not support functional

impairment for Mrs. Glasgow’s psychological conditions of anxiety disorder and

major depressive disorder. Dr. Schmitt highlights the fact that Mrs. Glasgow is still

able to function and complete her activities of daily living. In her report, Dr.

Schmitt indicated that “although [Mrs. Glasgow] may experience symptoms, the

frequency/severity thereof is not clear from the records.” Dr. Schmitt further notes

it is “not possible to appropriately differentiate if the symptoms reported by [Mrs.



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Glasgow] are due to her MS or psychiatric conditions since both conditions share

similar presentations and symptoms.” There is no indication in Dr. Schmitt’s

review that she attempted to contact Mrs. Glasgow’s treating physicians for

comment or clarification.

      38.    On January 10, 2019, Sun Life hired paid reviewer Sushil Sethi (“Dr.

Sethi”) to review Mrs. Glasgow’s medical records. Following a cursory review of

Mrs. Glasgow’s records, Dr. Sethi determined “there is no clinical data

corroborating the reports of fatigue, weakness, neuropathy, or frequency/severity

of MS flare-ups.” As a result of his review, Dr Sethi reached the conclusion that

the clinical data “does not corroborate [Mrs. Glasgow’s] self-reported symptoms.”

Dr. Sethi described Mrs. Glasgow’s impairments as “nonspecific self-reported

complaints which are not associated with any deficits.”

      39.    Based on a Vocational Occupation Opinion attained by Sun Life on

January 18, 2019, the exertional requirement of Mrs. Glasgow’s occupation as a

registered nurse is medium, i.e. exerting 20 to 50 pounds of force occasionally,

and/or 10 to 25 pounds of force frequently, and/or greater than negligible up to 10

pounds of force constantly to move objects. The vocational opinion also noted that

the mental demands of the occupation include: dealing with people, performing

effectively under stress, attaining precise set limits, tolerances, and standards, and

making judgments and decisions.



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        40.   Despite providing proof of her disability both before the denial of

benefits and throughout the appeals process, Sun Life refused to award Mrs.

Glasgow’s LTD benefits and issued its final denial by letter dated January 22,

2019.

        41.   As of this date, Mrs. Glasgow has been denied benefits rightfully

owed to her under the Plan.

        42.   Mrs. Glasgow has met and continues to meet the Plan’s definition of

disabled.

        43.   Mrs. Glasgow has exhausted any applicable administrative review

procedures and Defendant’s refusal to pay benefits is both erroneous and

unreasonable and has caused tremendous financial hardship on Plaintiff.

                               STANDARD OF REVIEW

        44.   Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

        45.   “A denial of benefits challenged under § 1132(a)(1)(B) is to be

reviewed under a de novo standard unless the benefit plan gives the administrator

or fiduciary discretionary authority to determine eligibility for benefits or to

construe the terms of the plan.” Firestone Tire and Rubber Co. v. Bruch, 489 U.S.

101, 115 (1989).

        46.   When discretionary authority is clearly granted and “the insurer of an



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ERISA plan also acts as a claims administrator, there is a structural or inherent

conflict of interest that mandates a ‘heightened’ arbitrary and capricious standard

of review.” Pinto v. Reliance Standard Life Ins. Co., 214 F.3d 377, 378 (2000).

      47.    The Plan at issue here contains no clear language granting Sun Life

discretionary authority to determine eligibility for benefits or to construe the terms

of the Plan, entitling Plaintiff to de novo review.

      48.    “Under certain circumstances, a plan administrator’s failure to comply

with the letter of the claims procedures outlined in ERISA requires court to eschew

the more deferential arbitrary and capricious review normally applied to an

administrator’s discretionary decisions in favor of a more searching de novo

review.” Halo v. Yale Health Plan, 819 F.3d 42, 47 (2d Cir. 2016).

      49.    “In other words, a plan’s failure to establish or follow the claims-

procedure regulation entitles the claimant to have his or her claim reviewed de

novo in federal court.” Id. at 53. An inability to “keep the beneficiary apprised to

the claim assessment process” or “deliver “reasonably timely and detailed

decisions” are invalid exercises of discretion. Id. at 47.

      50.    Here, Sun Life did not provide adequate detail supporting their

decision to deny Mrs. Glasgow’s claim for long term disability benefits.

      51.    In the alternative, if the Court finds that Plan is entitled to the

heightened arbitrary and capricious standard of review, the denial of Plaintiff’s



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benefits constitutes a clear abuse of discretion as Sun Life’s decision to deny Mrs.

Glasgow’s LTD benefits was arbitrary and capricious.

      52.    Upon information and belief, Defendant evaluated and paid all claims

under the LTD Plan at issue, creating an inherent conflict of interest.

      53.    Defendant breached its fiduciary duty to Mrs. Glasgow by erroneously

denying the LTD benefits to which she is entitled under the Plan.

    DEFENDANT’S WRONGFUL AND UNREASONABLE CONDUCT

A.   Defendant’s Denial of Plaintiff’s LTD Benefits was both Erroneous and
Unreasonable.

      54.    Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      55.    Courts have held that the determinations of plan administrators will be

overturned when such determinations are without reason or erroneous as a matter

of law. Pinto v. Reliance Standard Life Ins. Co., 214 F.3d 377, 378 (2000).

      56.    Throughout the entirety of the claim review process, Sun Life

“cherry-picked” Mrs. Glasgow’s records for information supporting its denial.

      57.    In his report, paid reviewer Dr. Sethi, through his report seemingly

suggested that unspecified objective diagnostic procedures be used to validate Mrs.

Glasgow’s MS when no such procedure is available.

      58.    Furthermore, Mrs. Glasgow’s medical records were misconstrued by

Sun Life as it interpreted the medical records to reflect that Mrs. Glasgow is

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capable of performing work when the physicians whose records were analyzed

have written letters stating their blatant opinions that Mrs. Glasgow is not capable

of returning to work.

      59.     In its review, Sun Life denied the existence of objective evidence

indicating that Mrs. Glasgow has MS despite the presence of such evidence in the

claim file.

      60.     Accordingly, Defendant’s contention that Mrs. Glasgow failed to

prove that she was disabled under the Plan must be rejected as Sun Life’s decision

to deny Plaintiff’s benefits necessarily imposed a standard that was not required by

the Plan’s provisions. See Soucy v. First UNUM Life Ins. Comp., 2011 U.S. Dist.

LEXIS 27938*89-90.

      61.     Defendant’s decision to deny benefits under his LTD policy was

erroneous and grossly unreasonable.

B.   Defendant’s Denial of Plaintiff’s LTD Benefits was not Supported by
Substantial Evidence.

      62.     Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      63.     Defendant’s actions, as referenced above, entitle the Plaintiff to a de

novo standard of review pursuant to § 1132(a)(1)(B).

      64.     However, should this Court determine that Defendant is entitled to a

heightened arbitrary and capricious standard of review, Defendants has failed to

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support the denial of benefits with substantial evidence as required by law.

      65.    The Pinto Court held that “[u]nder the arbitrary and capricious

standard, an administrator’s decision will only be overturned if it is without reason,

unsupported by substantial evidence or erroneous as a matter of law[.]” Id. at 378.

      66.    The final denial letter, like the previous letters, improperly found that

Mrs. Glasgow had no physical or mental functional impairment which would

preclude her from performing her own occupation. This determination was made

through Sun Life’s “cherry-picked” assessment of the record for evidence that

supports its denial and gives little or no weight to the plethora of evidence that

supports Mrs. Glasgow’s disability.

      67.    Sun Life primarily relied on the independent medical reviews of

physicians that have neither personally observed nor examined Mrs. Glasgow.

      68.    In Sun Life’s initial denial letter dated May 17, 2018, it relied on the

opinions of two paid medical reviewers, Ms. Newton and Ms. Schafer.

      69.    Ms. Newton is a registered nurse, coincidentally with the same

knowledge and expertise as the claimant, Mrs. Glasgow. Mrs. Glasgow contends

that she is disabled. Ms. Newton does not have the requisite knowledge or

experience to render a decision as to Mrs. Glasgow’s disability.

      70.    Ms. Newton determined that the medical records do not support a

physical loss in function, despite the medical records she reviewed from Dr.



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Hudgens stating just the opposite.

      71.   Ms. Schafer determined that Mrs. Glasgow faced no psychiatric

impairments yet acknowledged the presence of such impairments for roughly one

(1) month, but did not identify any significant change in circumstances which

would support those impairments vanishing suddenly. Mrs. Schafer highlights the

“improvement” in symptoms noted by Mrs. Glasgow’s psychiatrist. The

improvement of Mrs. Glasgow’s symptoms are exaggerated by Ms. Schafer to

reflect full recovery from the psychiatric impairments that preclude her from

working.

      72.   Additionally, there is no indication that Ms. Newton or Ms. Schafer

attempted to contact Mrs. Glasgow’s treating physicians for comment or

clarification. They merely misconstrued the medical records to reach the

predetermined conclusion that Mrs. Glasgow is not disabled.

      73.   Sun Life relied on the opinions of paid reviewers Sheila Schmitt (“Dr.

Schmitt”) and Sushil Sethi (“Dr. Sethi”) in its final denial of Mrs. Glasgow’s LTD

benefits. There is no indication in the reports of these paid reviewers that either

made an attempt to contact Mrs. Glasgow’s treating physicians for comment or

inquiry.

      74.   In Dr. Schmitt’s January 7, 2019 medical review report, she reasoned

that Mrs. Glasgow faces no functional limitations because she is still able to



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complete her activities of daily living. Dr. Schmitt failed to appreciate the vital role

that Mr. Glasgow plays in completing such activities. The declarations that were

submitted for Dr. Schmitt’s review with “attorney correspondence and/or legal

documents” clearly notate Mr. Glasgow’s heavy assistance with his wife’s

activities of daily living.

       75.    Dr. Schmitt reasoned that Mrs. Glasgow had no psychiatric

impairments because she went on a vacation with her husband in February. Dr.

Schmitt misconstrued an event scheduled for the betterment of Mrs. Glasgow’s

psychiatric condition as an indication that she suffers no psychiatric impairment

whatsoever. Dr. Schmitt falsely assumes that Mrs. Glasgow would be engaged in

activities that would require the same amount of mental strain as work. The

activities required of Mrs. Glasgow’s occupation as a registered nurse and the

activities required of a vacation-goer starkly contrast in comparison to one another.

       76.    After a cursory review of the medical records, Dr. Sethi determined

that “there is no clinical data corroborating the reports of fatigue, weakness,

neuropathy, or frequency/severity of MS flare-ups.” Dr. Sethi highlights medical

records where Mrs. Glasgow performed “normally” and ignores the sporadic

nature of MS flare-ups, a key characteristic of the disease. Most egregiously, Dr.

Sethi determines that “the clinical data does not corroborate her self-reported

symptoms,” wholly discounting Mrs. Glasgow’s subjective complaints and the



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diagnoses reached by her treating physicians.

      77.   Further, Dr. Schmitt and Dr. Sethi developed medical conclusions that

starkly contrast with that of the third party evaluators employed by the SSA. Dr.

Waltz and Dr. Eslami both had the opportunity to perform a hands-on examination

of Mrs. Glasgow in developing their medical opinions that are disputed by paid

reviewers Dr. Schmitt and Dr. Sethi. Dr. Schmitt and Dr. Sethi did not have the

same opportunity to develop a full and accurate medical opinion based on first

hand examination like Drs. Waltz and Eslami.

      78.   Moreover, Sun Life had the opportunity to conduct an independent

medical examination of Mrs. Glasgow. Such an opinion would be more reliable

than merely a review of the records.

      79.   Even if the Defendant could somehow overcome the inadequacy of

the paid reviewer’s findings, the findings would still stand alone as the only such

findings in the Administrative Record suggesting that Mrs. Glasgow might

somehow have been able to return to work, and would remain overwhelmed by

numerous treatment records suggesting the opposite. Accordingly, no reasonable

mind could accept as adequate the evidence upon which the Defendant relied to

support the decision to deny Mrs. Glasgow’s benefits

      80.   Sun Life’s denial of Mrs. Glasgow’s LTD benefits was made without

the support of substantial evidence indicating that Mrs. Glasgow could perform the



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material and substantial duties of her own occupation.

C.   Defendant Wrongfully and Unreasonably Failed to Consider the
Opinions of Plaintiff’s Treating Physicians.

      81.    Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      82.    A court "may not arbitrarily refuse to credit a claimant's reliable

evidence, including the opinions of a treating physician." Black & Decker

Disability Plan v. Nord, 538 U.S. 822, 834, 123 S. Ct. 1965, 155 L. Ed. 2d 1034

(2003). The Court has recognized that "treating physicians, as a rule, have a

greater opportunity than consultants to know and observe the patient as an

individual." Id. at 832.

      83.    “[C]ommon sense and a stream of legal precedent suggest [that]

factual determinations of a treating physician are objectively more reliable." Burt v.

Metropolitan Life Insurance Co., No. 1:04-CV-2376-BBM, 2005 U.S. Dist. LEXIS

22810, at *33 (N.D. Ga. Sept. 16, 2005) (emphasis in original); See also Finazzi,

327 F. Supp. 2d at 795-96.

      84.    Paid experts are more often than not pre-disposed or preconditioned.

Courts have consistently expressed their skepticism of such “experts” and held

their reviews to be the very essence of arbitrariness and capriciousness. Bennett v.

Kemper HAT-Svcs, Inc. 514 F. 3d 547, 554-55 (6th Cir. 2008); Montour v. Hartford

Life and Acc. Ins. Co., 588 F. 3d 623 (9th Cir. 2009); Regula v. Delta Family Care

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Plan 226 F.3d. 1130, 1143 (9th Cir. 2001). The Supreme Court has acknowledged

that “physicians repeatedly retained by benefits plans may have an ‘incentive to

make a finding of “not disabled” in order to save their employers money and

preserve their own consulting agreements.’” Nord, 538 U.S. 822, 832, 123 S. Ct.

1965, 155 L. Ed. 2d 1034 (2003). The fact that their reports are consistently in

conflict with the opinion of treating doctors’ determinations should be viewed as

evidence of a structurally conflicted process that results in bias. Clearly, in Mrs.

Glasgow’s case, these decisions indicate that her treating physicians’ evaluations

should be afforded greater weight than the opinions of Sun Life’s consultants.

      85.    In weighing the opinions of Mrs. Glasgow’s physicians against those

of the independent reviewers retained by the Defendant, the Court should consider

the following factors: (i) the frequency of examination and the length, nature, and

extent of the treatment relationship; (ii) the evidence in support of the opinion; (iii)

the opinion's consistency with the record as a whole; (iv) other relevant factors. See

Karanda v. Connecticut Gen. Life Ins. Co., et al., 158 F. Supp. 2d 192, 205 and n.8

(D. Conn. 2000) (citing Durr v. Metropolitan Life Ins. Co., 15 F. Supp. 2d 205,

213 (D. Conn. 1998)).

      86.    Mrs. Glasgow’s claim file is replete with medical records from her

treating physicians extensively detailing her physical and mental limitations. Mrs.

Glasgow’s physicians’ assessments, treatment and medications they prescribed and



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administered, demonstrate that Mrs. Glasgow’s diagnosed conditions and

symptoms thereof are extremely debilitating.

      87.    Dr. Hudgens in particular has consistently treated Mrs. Glasgow for

her relapsing remitting multiple sclerosis. Through his years of examination and

treatment he is in the best position to attest to Mrs. Glasgow’s disabling condition.

      88.    Dr. Hudgens’ medical records clearly notate Mrs. Glasgow’s

impairments and reflect his opinion that Mrs. Glasgow is not capable of returning

to work in her own occupation or any reasonable occupation.

      89.    Dr. Hudgens’ March 3, 2018 letter stated that Mrs. Glasgow has

relapsing remitting multiple sclerosis and cannot participate in gainful employment

due to her symptoms. This letter is a clear indication that Dr. Hudgens finds Mrs.

Glasgow disabled, despite his medical records that were misconstrued by Sun

Life’s paid reviewers.

      90.    Additionally, Dr. Hudgens’ May 14, 2018 letter stated that Mrs.

Glasgow was “being treated for MS with associated fatigue, severe pareasthesias

and pain. This diagnosis may make it difficult for Mrs. Glasgow to stay gainfully

employed.”

      91.    In her attending provider statement, Ms. Richardson noted that Mrs.

Glasgow suffers from depression and anxiety as a result of her MS diagnosis and

life circumstances. Ms. Richardson indicated that Mrs. Glasgow’s functional



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capacity is limited by her psychiatric condition through the pain she experiences

related to MS and her coping skills negatively impact her interpersonal

performance. Clearly Mrs. Glasgow’s physical impairments have contributed to

her mental deficits.

      92.    Mrs. Glasgow’s long-standing medical providers, who have no stake

in the outcome of the case, reached the opinion that she was disabled based on

their numerous personal examinations, testing and procedures. These decisions

were based on the same evidence that Mrs. Glasgow provided to Sun Life. Sun

Life’s conclusion that Mrs. Glasgow was not disabled was based merely on hired

reviewers’ “cherry-picked” assessment of her medical records. See Hoover v.

Provident Life and Accident Ins. Co., 290 F.3d 801, 809 (6th Cir. 2002)(finding

that evidence in the administrative record did not support the revocation of benefits

because the only doctors that disagreed with the treating physicians were non-

examining consultants hired by the insurance company); see also Kalish v. Liberty

Mutual, 419 F.3d 501, 508 (6th Cir. 2005)(“[w]hether a doctor has physically

examined the claimant is indeed one factor that we may consider in determining

whether a plan administrator acted arbitrarily and capriciously in giving greater

weight to the opinion of its consulting physician”).

      93.    Mrs. Glasgow’s treating physicians have stated that her condition is

debilitating to the effect that she does not have the ability to return to work.



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      94.    Sun Life wrongfully failed to consider the well-informed opinions of

Mrs. Glasgow’s treating physicians and instead relied on the opinion of parties that

have never seen nor examined Mrs. Glasgow in person.

D.    Defendant Denied Plaintiff’s LTD Benefits without Consideration of
Plaintiff’s Subjective Complaints.

      95.    Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      96.     “It is unreasonable for a disability claims administrator to deny a

claim for a lack of objective medical evidence when the claimant has provided

ample subjective evidence of a disability and the administrator has neither

identified any objective evidence that the claimant could have supplied to support

the claim and has not had the claimant undergo an independent medical

examination or a similar in-person probative procedure to test the validity of her

complaints.” Creel v. Wachovia Corp., 2009 U.S. App. LEXIS 1733, at 28* (11th

Cir. Fla. Jan. 27, 2009).

      97.    An administrator may not exclude a claim for lack of objective

medical evidence unless that standard was made “clear, plain and conspicuous

enough [in the policy] to negate layman [Plaintiff’s] objectively reasonable

expectations of coverage.” Saltarelli v. Bob Baker Group Medical Trust et al., 35

F.3d 382, 387 (9th Cir. 1994); See also May v. Metro. Life Ins. Co., 2004 U.S.

Dist. LEXIS 18486, *26 (N.D. Cal. Sept. 9, 2004)(“MetLife abused its discretion

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by requiring that Plaintiff meet an additional requirement for eligibility beyond

those imposed by the Plan.”). As the Ninth Circuit has explained, some

impairments are based on symptoms that are “entirely subjective.”

      98.    In Quigley v. UNUM Life Ins. Co. of America, 340 F. Supp. 2d 215,

224 (D.Conn. 2004), the Court held "[w]here the record reveals well-documented

complaints of chronic pain, and there is no evidence in the record to contradict the

claimant's complaints, the claim administrator, and the court, cannot discredit the

claimant's subjective complaints." Id. at 224.

      99.    Admittedly, Mrs. Glasgow’s primary disabling impairments have

subjective components; however, they have been diagnosed by her treating

physicians based on her medical history, physical examinations, and observations.

The Defendant far exceeds its discretion to ascertain a claimant's credibility by

characterizing the bulk of Mrs. Glasgow’s treatment records as somehow flowing

from her own subjective reports and thus equally subject to its rejection as non-

credible.

      100. Here, Mrs. Glasgow provided both objective and subjective evidence

of her disabling conditions. Her medical records contain well-documented

complaints of intermittent weakness, severe fatigue, cognitive difficulty, anxiety,

and depression.

      101. The medical records of Mrs. Glasgow’s treating physicians are riddled



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with consistent complaints by Mrs. Glasgow. The nature of her subjective

complaints are consistent with her diagnoses.

      102. The declarations submitted by Mrs. Glasgow, Mr. Glasgow and Ms.

Nail all outline Mrs. Glasgow’s difficulties with pain, weakness, memory loss, and

fatigue.

      103. In denial letters dated May 17, 2018 and January 22, 2019, Sun Life

failed to consider Mrs. Glasgow’s subjective complaints. These letters also failed

to address the deterioration, rather than improvement, of Mrs. Glasgow’s

conditions and the symptoms thereof.

      104. Sun Life’s paid reviewers utterly disregarded the subjective

complaints of Mrs. Glasgow. Dr. Sethi went as far as to say “the clinical data does

not corroborate her self-reported symptoms.” Dr. Sethi, through his report, is

seemingly suggesting that unspecified diagnostic procedures be used to validate

Mrs. Glasgow’s MS when no such procedure is available.

      105. Moreover, Dr. Hudgens has had the time and opportunity to

thoroughly examine Mrs. Glasgow’s condition and properly diagnose her with

relapsing remitting multiple sclerosis to the exclusion of other conditions. Dr.

Hudgens properly considered Mrs. Glasgow’s subjective complaints in addition to

objective criteria in reaching this diagnosis.

      106. In the “history” section of Dr. Eslami’s July 20, 2018 review, he



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stated “The MRI of the cervical spine did not show any cord lesion however brain

MRI showed periventricular and high density lesion in the corpus callosum that is

quite compatible with multiple sclerosis.” Clearly, there is objective evidence

confirming Dr. Hudgens’ diagnosis.

      107. Accordingly, given Sun Life’s utter disregard or Mrs. Glasgow’s

subjective complaints, Defendant’s decision to deny benefits was substantively

unreasonable.

E.    Defendant Denied Plaintiff’s LTD Benefits without Consideration of
Plaintiff’s Non-Exertional Limitations.

      108. Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      109. As reasoned by the Court in Rabuck v. Hartford Life and Accident Ins.

Co., 522 F. Supp. 2d 844 (W.D. Mich. 2007), in addition to exertional restrictions

and limitations, the Court must also consider non-exertional limitations including

(1) intellectual and psychological limitations, including those related to the side

effects of prescription medications and pain; (2) limited manual dexterity; and (3) a

limited ability to remain seated for an extended period of time. Such non-exertional

limitations can be important aspects of vocational capacity. Id. at 876-77. (holding

that failure to consider non-strength limitations of former company president with

short-term memory limitations rendered Transferable Skills Analysis "incredible").




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      110. Classifying a job based on its exertional qualifications alone “is the

beginning, not the end, of determining the essential duties of an occupation.”

Nemeth v. The Andersen Corp. Welfare Plan, No. 10-cv-0795-wmc, U.S. Dist.

LEXIS 190900, at *35 (W.D. Wis. February 1, 2012)(See also Baker v.

Metropolitan Life Ins. Co., No. 3:05-cv-262, 2006 U.S. Dist. LEXIS 92556 at *17

(M.D. Tenn. Dec. 20, 2006)(“Although the practice of law is a physically

‘sedentary’ occupation, the claimant’s occupation was in the sophisticated and

demanding legal practice of mergers and acquisitions, and the vocational

component of MetLife’s termination of LTD benefits was arbitrary and capricious

because it did not adequately take into account the claimant’s cognitive deficits”).

      111. Failure to consider side effects of medications in determining whether

an ERISA claimant is disabled is an example of arbitrary and capricious conduct.

Godfrey v. BellSouth Telecommunications, Inc., 89 F.3d 755, 759 (11th Cir. 1996).

      112. Defendant denied Mrs. Glasgow’s LTD benefits despite the fact that

Mrs. Glasgow’s medical records indicate that she was suffering side effects from

the medication she was prescribed, including flu-like symptoms, body aches, fever,

nausea, and diarrhea.

      113. The side effects of the medications and treatment prescribed were so

vicious that Mrs. Glasgow discontinued use of many prescriptions because the side

effects worsened her condition, rather than relieving it.



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      114. One of the non-exertional limitations that Mrs. Glasgow faces is

limited manual dexterity. Her medical records clearly notate restrictions

lifting/carrying, standing, walking, stooping, kneeling, and crouching due to

intermittent weakness, numbness, and tingling. Her inability to perform these

important aspect of her occupation prevent her from returning to work.

      115. Fatigue is the strongest symptom limiting Mrs. Glasgow from

continuing to work. Fatigue is a prominent characteristic of MS and the effects

thereof cause inevitable exhaustion, limiting the amount of time a person can sit,

stand, or be awake.

      116. Additionally, MS flare-ups cause distinct, sudden episodes of severe

fatigue, numbness, tingling, and balance difficulties. Flare-ups are impossible to

predict and can last for an unknown amount of time. The indeterminable

consequences of these events make it impossible for Mrs. Glasgow to continue

working.

      117. The physical aspects of the disease have also taken a toll of Mrs.

Glasgow’s mental health, resulting in issues with anger, depression, and anxiety.

      118. In Ms. Nail’s declaration, she indicated that Mrs. Glasgow had

difficulty standing for any length of time and would resort to sitting on the floor if

seating were not readily available.

      119. In Dr. Eslami’s July 20, 2018 neurological evaluation, he noted that



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Mrs. Glasgow “has incoordination and difficulty walking in addition to sphincter

dysfunction, which limits her work-related activities such as ability to stand or

walk for extended period of time, lift, carry objects and travel.”

      120. The court in Mills v. Colvin, 959 F. Supp. 2d 1079, 1084 (2013)

stated that “the general tolerance of off-task time is around 10-12% and an

individual who needed a ten-minute break every hour would exceed that

tolerance.”

      121. According to the medical records, Mrs. Glasgow experiences

sphincter dysfunction, diarrhea, and other symptoms which would cause her to

spend a significant amount of time off task.

      122. Another      consideration    of    non-exertional   requirements   is   an

employee’s ability to regularly attend work. Frequent absenteeism caused by

medical appointments or conditions would preclude employment in any reasonable

occupation. A majority of the Federal Courts have found that employers will not

tolerate absenteeism averaging two or more days per month. See Conner v.

Shalala, 900 F. Supp. 994, 1003-04 (1995) stating that “in unskilled work the

tolerance level would not exceed two absences per month.” See also Dennis v.

Astrue, 665 F. Supp. 2d 746, 753 (2009) stating that “employers typically will

tolerate no more than two absences per month.”

      123. Mrs. Glasgow’s concentration, persistence and pace is so severely



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limited by constant fatigue, and by the documented and expected side effects from

her prescribed medications that she is unable to perform any work at any exertional

level on a full-time basis.

      124. Additionally, while physical therapy plays a key role in Mrs.

Glasgow’s treatment, engaging in assigned therapeutic exercises further

exacerbates her fatigue.

      125. Undoubtedly, a return to work in any capacity would increase Mrs.

Glasgow’s symptoms and fatigue, requiring additional rest, medication and

treatment which would lead to the inability to maintain an acceptable absentee rate.

      126. Mrs. Glasgow’s treating physicians consistently supported her

disability claim in both treatment notes and medical statements provided to Sun

Life and stated that Mrs. Glasgow suffered non-exertional limitations, such as

inability to focus or concentrate and difficulty standing/sitting for long periods of

time. Her disabling conditions also prevent her from “staying on task” at least 85%

of the time and prevent consistent attendance at work. Plaintiff’s secondary

medical issues compound her primary problems and it was unreasonable for the

Defendant to fail to properly consider the impacts of Mrs. Glasgow’s non-

exertional limitations in its decision.

      127. If Mrs. Glasgow’s non-exertional limitations were considered by Sun

Life, it would have reached a different conclusion about Mrs. Glasgow’s disability



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status and her entitlement to LTD benefit payments.

      128. Clearly, a decision asserting that Mrs. Glasgow can gainfully work in

her occupation given her non-exertional impairments and side effects from her

medications is illogical.

      129. Accordingly, Defendant’s decision to deny disability benefits was

substantively unreasonable given the non-exertional limitations that preclude Mrs.

Glasgow from performing the material and substantive duties of her own

occupation.

F.    Defendant Failed to Provide Plaintiff with a Full and Fair Review.

      130. Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      131.    The ERISA statute provides, in part, that every plan must provide

participants with an adequate notice of claim denials and “a reasonable opportunity

. . . for a full and fair review by the appropriate named fiduciary of the decision

denying the claim.” 29 U.S.C. § 1233(2). The Department of Labor’s regulations

provide that every plan must establish a procedure ‘under where there will be a full

and fair review of the claim and the adverse benefit determination.’” 29 C.F.R. §

2560.503-1(h)(1).

      132. The Defendant did not establish and maintain a reasonable claim

procedure or provide a full and fair review of Mrs. Glasgow’s claim as required by



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ERISA.

      133. In final denial letter dated January 22, 2019, Sun Life did not inform

Mrs. Glasgow of the statute of limitations for her ERISA claim, as required by

Department of Labor Regulations. While Mrs. Glasgow’s claim is not governed by

these regulations, which went into effect on April 1, 2018, by the time of the final

denial letter, Sun Life was well aware of these regulations and the purpose of their

enforcement.

      134. Additionally, Mrs. Glasgow was not given an opportunity to respond

to the Physician Review Reports completed by Drs. Schmitt and Sethi nor was she

granted an opportunity to submit the report to his physicians for comment.

      135. Accordingly, Defendant’s denial of Mrs. Glasgow’s LTD benefits

denied the full and fair review of her LTD claim that she was entitled to under

ERISA and therefore, Sun Life’s decision to deny Mrs. Glasgow’s LTD benefits

was arbitrary and capricious.

G.    Defendant Failed to Justify Taking a Position Different from the Social
      Security Administration (“SSA”) on the Question of Disability.

      136. Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      137. Courts have determined that the Social Security Administration’s

disability decision should be a “significant factor” in a Court’s consideration of an

administrator’s decision to deny plaintiff’s disability benefits. Glenn v. Metro Life

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Ins. Co., 461 F.3d 660, 66. See also Calvert v. Firstar Finance, Inc., 409 F.3d 286,

294 (6th Cir. 2005)(“the SSA determination, though certainly not binding, is far

from meaningless.”).

      138. “[I]f the plan administrator (1) encourages the applicant to apply for

Social Security disability payments; (2) financially benefits from the applicant’s

receipt of Social Security; and then (3) fails to explain why it is taking a position

different from the SSA on the question of disability, the reviewing court should

weigh this in favor of a finding that the administrator’s decision was arbitrary or

capricious.” Bennett v. Kemper Nat. Services, Inc., 514 F.3d 547, 554 (6th Cir.

2009).

      139. Indeed, “a decision by a plan administrator to seek and embrace an

SSA determination for its own benefit, and then ignore or discount it later, casts

additional doubt on the adequacy of their evaluation of . . . [a] claim[.]” Calvert c.

Firstar Finance, Inc., 409 F.3d 286, 294-95 (6th Cir. 2005). See also Darland v.

Fortis Benefits Insurance Company, 317 F.3d 516 (6th Cir. 2003)(“[I]t is totally

inconsistent . . . to request that [a claimant] apply for social security disability

benefits, yet avail itself of that social security determination regarding disability to

contend, at the same time, that he is not disabled.”).

      140. The Eleventh Circuit has previously held that insurance carriers have

an “obligation to consider the evidence presented to the SSA.” Melech v. Life Ins.



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Co. of N.A., 739 F.3d 663, 666 (11th Cir. 2014). The court further noted that it was

“troubled by the implication of [the carrier’s] actions . . . where it ignored

[claimant’s] SSDI application and the evidence generated by the SSA’s

investigation once it no longer had a financial stake in the outcome.” Id. at 674.

      141. When considering whether a claimant is disabled under sections

216(i) and 223(d) of the Social Security Act, the agency must determine whether

the claimant has the inability to engage in any substantial gainful activity by reason

of any medically determinable physical or mental impairment or combination of

impairments that can be expected to result in death or that has lasted or can be

expected to last for a continuous period of not less than 12 months.

      142. Under the authority of the Social Security Act, the Social Security

Administration has established a five-step sequential evaluation process for

determining whether an individual is disabled 20 CFR 404.1520(a).

      143. At step one, the agency must determine whether the claimant is

engaged in substantial gainful activity 20 CFR 404.1520(b). If an individual

engages in substantial gainful activity, he or she is not disabled regardless of how

severe his or her physical or mental impairments are and regardless of his or her

age, education, or work experience. If the individual is not engaged in substantial

gainful activity, the analysis proceeds to the second step.

      144. At step two, the agency must determine whether the claimant has a



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medically determinable impairment that is “severe” or a combination of

impairments that is “severe.” 20 CFR 404.1520(c). An impairment or combination

of impairments is “severe” within the meaning of the regulations if it significantly

limits an individual’s ability to perform basic work activities. If the claimant does

not have a severe medically determinable impairment or combination of

impairments, he or she is not disabled. If the claimant has a severe impairment or

combination of impairments, the analysis proceeds to the third step.

      145. At step three, the agency must determine whether the claimant’s

impairment or combination of impairments is of a severity to meet or medically

equal the criteria of an impairment listed in 20 CFR Part 404, Subpart P, Appendix

1. 20 CFR 404.1520(d), 404.1525, and 404.1526. If the claimant’s impairment or

combination of impairments is of a severity to meet or medically equal the criteria

of a listing and meets the duration requirement, the claimant is disabled. 20 CFR

404.1509. If it does not, the analysis proceeds to the next step.

      146. Before considering step four, the agency must first determine the

claimant’s residual functional capacity. 20 CFR 404.1520(e). An individual’s

residual functional capacity is his or her ability to do physical and mental work

activities on a sustained basis despite limitations from his or her impairments.

      147. Next, the agency must determine at step four whether the claimant has

the residual functional capacity to perform the requirements of his or her past



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relevant work. 20 CFR 404.1520(f). The term “past relevant work” means work

performed (either as the claimant actually performed it or as it is generally

performed in the national economy) within the last fifteen (15) years or fifteen (15)

years prior to the date that disability must be established. If the claimant is unable

to do any past relevant work or does not have any past relevant work, the analysis

proceeds to the fifth and final step.

      148. At the final step of the sequential evaluation process, the agency must

determine whether the claimant is able to do any other work considering his or her

residual functional capacity, age, education, and work experience. If the claimant is

able to do other work, he or she is not disabled. If the claimant is not able to do

other work and meets the duration requirement, he or she is disabled.

      149. After reviewing Mrs. Glasgow’s medical records, the SSA determined

that Mrs. Glasgow satisfied each step of the five-step process outlined above.

      150. Social security disability determinations are made through a more

stringent analysis than that required under the Plan. Despite the ironclad method

developed by the SSA, it still found Mrs. Glasgow disabled. Without justification,

Sun Life disagreed with that determination, finding Mrs. Glasgow capable of

performing her own occupation.

      151. Rather than addressing the substantive reason for their disagreement

with the SSA determination, Sun Life merely attacked the analyses conducted by



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third-party examiners utilized by the SSA. Additionally, in the final denial letter,

Sun Life described a distinction between the two analyses, but failed to mention

the more stringent nature and detail required of the SSA analysis.

      152. Sun Life erroneously disagreed with the SSA’s determination of

disability and failed to adequately consider such determination in analyzing

plaintiff’s claim for LTD benefits.

                              CAUSES OF ACTION

                               COUNT ONE
                 ERISA (Claim for Benefits Owed under Plan)

      153. Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      154. At all times relevant to this action, Mrs. Glasgow was a participant of

the Plan underwritten by Sun Life and issued to Community Health Systems, Inc.

and was eligible to receive disability benefits under the Plan.

      155. As more fully described above, the denial and refusal to pay Mrs.

Glasgow’s benefits under the Plan for the period from at least on or about March

14, 2018 through the present constitutes a breach of Defendant’s obligations under

the Plan and ERISA. The decision to deny benefits to Mrs. Glasgow constitutes an

abuse of discretion as the decision was not reasonable and it was not based on

substantial evidence.

      156. Ms. Glasgow brings this action to recover benefits due to her and to

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enforce her rights under the Plan pursuant to 29 U.S.C. §1132(a)(1)(B).

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays the Court to enter judgment for Plaintiff and

otherwise enter an Order providing that:

      1.      The applicable standard of review in this case is de novo;

      2.      By a preponderance of the evidence, the Defendant has breached its

fiduciary duty to the Plaintiff by wrongfully denying her LTD benefits owed to her

through the Plan;

      3.      In the alternative, if the court determines that the applicable standard

of review is the heightened arbitrary and capricious standard, the court may take

and review the records of Defendant and any other evidence that it deems

necessary to conduct an adequate arbitrary and capricious review;

      4.      From at least December 13, 2017 through the present, Mrs. Glasgow

met the Plan’s definition of disabled;

      5.      Defendant shall pay Mrs. Glasgow all benefits due for the period from

at least March 2018 through the present in accordance with the Plan;

      6.      Defendant shall pay to Plaintiff such prejudgment interest as allowed

by law;

      7.      Defendant shall pay Plaintiff’s costs of litigation and any and all other

reasonable costs and damages permitted by law;



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      8.    Defendants shall pay attorney’s fees for Plaintiff’s counsel;

      9.    Plaintiff shall receive such further relief against Defendant as the

Court deems lawful, just and proper.

      Respectfully submitted this the 7th day of October, 2019.


                               /s/ Peter H. Burke_______________
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      PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AT:

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